Case 2:05-cr-20236-.]DB Document 25 Filed 08/02/05 Page 1 ot 2 Page|D 27

 

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FoR THE WESTERN DISTRICT oF TENNESSEE "`"ED BY 06
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vs_ iii/3 i` i weis
NQ. 05-20236
BILLY GENE wiLLiAi\/is,
Defendant.

 

ORDER GRANTING DEFENDANT’ S MOTION FOR LEAVE TO FILE
ADDITIONAL MOTIONS UPON COMPLETION OF DISCOVERY

 

Before this Honorable Court is Defendant Billy Gene Williams’ Motion for
Leave to File Additional Motions Upon Completion of Discovery. lt appearing to this
Court that time beyond the required 30 days for filing of motions is necessary;

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that
Defenda.nt’s request for additional time is granted Defendant shall have 30 days after
completion of Discovery to file all pre-trial motions.

Entered this the day ofA-<d~;£_`¥ A-<H`L,MOOS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20236 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

